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 NOT FOR PUBLICATION


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 JOHN DOE,

                          Plaintif
                                                         Civil Action No. 18-16539 (MAS) (LHG)

                                                               MEMORANDUM OPINION
 PRINCETON UNIVERSITY,

                          Defendant.


 SHIPP, District Judge

        This matter comes before the Court upon Plaintiff John Doe’s (“Plaintiff’) Application for

 a Preliminary Injunction. (ECF No. 1.) Defendant Princeton University (“Princeton”) opposed

 (ECF No. 5) and filed a Motion to Dismiss (ECF No. 7). Plaintiff replied. (ECF No. 9.) On

 December 21,2018, the Court heard Oral Argument on the matter. For the reasons set forth below,

 Plaintiffs Application for a Preliminary Injunction is denied, and Defendant’s Motion to Dismiss

 is granted in part and denied in part.

 I.      Background

         Plaintiff is a student at Princeton and involved in an investigation by Princeton pursuant to

 Title IX of the Educational Amendment of 1972 (“Title IX”) and Princeton’s “Rights, Rules,

 Responsibilities 2018” policy (the “RRR Policy”). (Compl.      ¶   10, ECF No. 1.) Plaintiff and Jane

 Roe, a fellow student, began a relationship in the spring of 2017. (See id.   ¶   1.) In January 2018,

 Plaintiff advised Princeton that “he felt he was being harassed by Jane Roe.” (Id.         ¶   11.) On
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 November 7, 2018, Plaintiff was advised that Princeton had begun a Title IX investigation

 regarding Jane Roe’s allegations about conduct that occurred in the spring of 2017.1 (Id.)

        As part of the investigation, Plaintiff was scheduled to be interviewed on November 26,

 2018. (Id.   ¶ 37.)   Plaintiff requested that the interview be postponed until January 28, 2019, the

 day the notice-and-comment period for proposed regulations by the United States Department of

 Education (“DOE”) closes. (Id.       ¶ 38.)   Princeton agreed to two postponements of the interview,

 first to December 3, 2018, and then to December 10, 2018. (Id.        ¶ 39.)   Princeton, however, did

 not agree to delay the Title IX Investigation pending the implementation of the proposed

 regulations. (Id.) Princeton also did not agree to apply certain substantive portions of the proposed

 regulations to the Title IX Investigation. (Id.) This lawsuit ensued.

        Plaintiff asserts four causes of action against Defendant. In Count One—Violation of Due

 Process Rights, Plaintiff alleges that if the Title IX Investigation continues “before DOE’s

 proposed regulations are enacted, Plaintiff would be subject to a disciplinary proceeding that does

 not sufficiently protect his due process rights or provide him a ftindamentally fair disciplinary

 process[,]” and Princeton’s failure to adjourn the Title IX investigation “has violated Plaintiffs

 due process rights.” (Id.     ¶J   49-50.) In Count Two—Breach of Contract, Plaintiff alleges that

 Princeton’s failure to adjourn the Title IX Investigation until the implementation of the DOE’s

 proposed regulations is a violation of a provision of the RRR Policy. (Id.       ¶ 5 1-58.)   In Count

 Three—Anticipatory Breach of Contract, Plaintiff alleges that “Princeton’s [RRR Policy] strives to

 ‘establish procedures for a fair hearing,” and Princeton’s failure to adjourn the Title IX

 Investigation “until such time as the proper framework for such investigation is determined




   The underlying facts regarding Jane Roe’s allegations and the current investigation are not at
 issue nor are they before the Court. The Court refers to the current investigation as the “Title IX
 Investigation.”
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 qualifies as an anticipatory breach of Princeton’s obligation to Plaintiff.   .   .   .“    (Id.   ¶ 5 9-64.)   In

 Count Four—Breach of Implied Covenant of Good Faith and Fair Dealing, Plaintiff alleges that

 “Princeton refused in bad faith Plaintiffs requested adjournment” and this “breached the implied

 covenant of good faith and fair dealing” contained within the RRR Policy. (Id.             ¶ 65-70.)    Plaintiff

 requests that the Court enjoin Princeton “from proceeding with the Title IX [I]nvestigation as to

 Plaintiffs and Jane Roe’s respective allegations until such time as the review, comment, and

 implementation of DOE’s proposed regulations concerning Title IX investigations has passed.”

 (Id. at 14.)

         A.     Princeton’s Title IX Policy

         Section 1.3 of the RRR Policy includes, among other things, Princeton’s “investigation and

 disciplinary procedures that will be followed in response to allegations of sex or gender

 discrimination, including sexual misconduct such as sexual harassment and sexual assault, intimate

 partner violence, stalking, and related retaliation.” (RRR Policy 14, ECF No. 1-5.) The RRR

 Policy applies to the conduct of students occurring on Princeton “property (i.e., on campus), and

 in the local vicinity[,]” as well as off-campus conduct that is associated with a Princeton-sponsored

 program or activity. (Id. at 16.) Section 1.3.3 of the RRR Policy outlines a wide range of conduct

 that is prohibited under the policy. (Id. at 16-20.)

         Section 1.3.10 of the RRR Policy contains general provisions applicable to Title IX

 investigations at Princeton. (See Id. at 28-32.) It explains that “[d]uring the disciplinary process,

 both parties (complainant and respondent) have equivalent rights, including the opportunity to

 present evidence, to identify individuals who may possess relevant information and request that

 such individuals be interviewed, to be accompanied by an adviser of their choice, and to appeal.”

 (Id. at 29.) Per sub-section 2, “[t]he investigative process is initiated when the Title IX Coordinator

receives a complaint or report of a violation of’ the RRR Policy and “upon receipt of such a report,


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 the Title IX Coordinator will” respond to any immediate concerns, conduct an initial assessment,

 and may take certain actions. (Id.) Sub-section 3 states:

        The Title IX Coordinator will seek to complete the investigation and any resulting
        disciplinary process and provide notice of the outcome within 60 calendar days
        after receipt of the complaint or report. [Princeton] will seek to complete any
        appeal within 20 calendar days after receipt of the appeal.

        There may be circumstances that require the extension of tirnefrarnes for good
        cause, including extension beyond 60 calendar days. Timeframes may be extended
        to ensure the integrity and completeness of the investigation, comply with a request
        by external law enforcement, accommodate the availability of witnesses, or
        accommodate delays by the parties; or for other legitimate reasons, including the
        complexity of the investigation and the severity and extent of the alleged
        misconduct. [Princeton] will notify the parties in writing of any extension of the
        timeframes for good cause, and the reason for the extension.

 (Id. at 30 (emphasis added).)

        Section 1.3.12 of the RRR Policy provides specific procedures for circumstances where a

 student allegedly violated Section 1.3 of the RRR Policy. (See id. at 32-35.) After receipt of a

 complaint or a report alleging a violation, the Title IX Coordinator “will appoint a three-person

 investigative panel of administrators and/or outside investigators.” (Id. at 32.) This investigative

 panel is empowered to “conduct an inquiry and determine, by a preponderance of the evidence,

 whether this policy was violated.” (Id.) If parties involved in the investigation are interviewed,

 “[e]ach party may select an adviser of their choice who may accompany them to any meeting or

 related proceeding, but the adviser may not actively participate in the interview process.” (Id.)

 The investigative panel compiles a file of certain relevant documents and provides the file to the

 complainant and the respondent along with a written description of “the allegations that will be

 adjudicated.” (Id.) Upon receipt and review of the file, the parties “have an opportunity (I) to

 meet again with the panel, (2) to respond in writing, (3) to request the collection of other

 information by the panel, and (4) to identify individuals who may possess relevant information

 (and request that such individuals be interviewed).” (Id. at 33.) “If the panel believes that further


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 response by the parties is necessary for purposes of reaching an outcome, the panel will offer each

 party the opportunity to further respond to the materials collected.”               (Id.)   “Following the

 investigation, the panel will meet to determine, by a majority decision, whether the respondent,

 based on the preponderance of evidence standard, violated University policy.” (Id. (emphasis

 added).)

        Upon a finding that a student violated the RRR Policy, “the entire case file [is] forwarded

 to the dean of undergraduate students and the deputy dean for academic affairs of the Graduate

 School, who will jointly determine the penalty.” (Id.) “Penalties will be determined based on the

 seriousness of the misconduct as compared to like cases in the past, and the student’s previous

 disciplinary history (if any).” (Id.) In the case of student who “is found responsible for violating

 University policy, the Office of the Dean of Undergraduate Students     .   .   .   will record the penalty

 and retain records in accordance with protocols for all other disciplinary cases.” (Id.) Subsection

 2 of Section 1.3.16 provides the range of penalties applicable to students including, among others:

 a warning, disciplinary probation, withholding a degree, suspension, suspension with conditions,

 expulsion, and censure. (Id. at 39-41.)

        B.      The Department of Education’s Proposed Title IX Regulations

        On September 22, 2017, the Department of Education (“DOE”) issued a “Dear Colleague”

 letter withdrawing: (1) an April 4, 2011 “Dear Colleague” letter; and (ii) an April 29, 2014

 Questions and Answers document. (Sept. 22, 2017 Correspondence 1, ECF No. 1-7.) In the same

 letter, the DOE referred recipients of the letter to a “Q&A on Campus Sexual Misconduct”

 contemporaneously issued with the letter and stated that the DOE would “continue to rely on its

Revised Sexual Harassment Guidance, which was informed by a notice-and-comment process and

 issued in 2001 [(“2001 Guidance”)], as well as the reaffirmation of that Guidance in the Dear

 Colleague Letter on Sexual Harassment issued January 25, 2006.” (Id. at 2.)


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        On November 29, 2018, the DOE published a notice of proposed rulemaking in the Federal

 Register. See Title IX, 83 Fed. Reg. 61,462 (proposed Nov. 29, 2018) (to be codified at 34 C.F.R.

 pt. 106).2 If promulgated, the Proposed Regulations would be the first “Title IX regulations.   .   .   to

 address sexual harassment as a form of sex discrimination” promulgated since Title IX’s

 implementing regulations were promulgated in 1975. Id. at 61,463. In the Executive Summary of

 the Proposed Regulations, the DOE states that it “has determined that current regulations and

 guidance do not provide appropriate standards for how recipients must respond to incidents of

 sexual harassment.” Id. at 61,462. The DOE, accordingly, “propose[s] regulations addressing

 sexual harassment under Title IX to better align the Department’s regulations with the text and

 purpose of Title IX and Supreme Court precedent and other case law.” Id. The DOE asserts that

 the Proposed Regulations “will help to ensure that recipients understand their legal obligations

 including what conduct is actionable as sexual harassment under Title IX, the conditions that

 activate a mandatory response by the recipient, and particular requirements that such a response

 must meet so that recipients protect the rights of their students to access education free from sex

 discrimination.” Id.    The notice-and-comment period for the Proposed Regulations closes on

 January 28, 2019. Id.

        The DOE proposes adding Section 106.45(b)(3) “stating that the recipient must conduct an

 investigation of the allegations in a formal complaint,” and providing specific requirements and

 procedures applicable when investigating a formal complaint Id. at 61,475.           Among those

 requirements are regulations regarding cross-examination in Title IX proceedings. Specifically,

 the Proposed Regulations include a requirement that universities’ Title IX procedures “must



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   Plaintiff submitted the unofficial version of the proposed regulatios submitted to the Federal
 Register (ECF No. 1-6), and Princeton submitted the official version of the same (ECF No. 5-2).
 The Court cites to the official version using the pagination contained therein. The Court refers to
 these as the “Proposed Regulations.”
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 provide for a live hearing[,]” and “[a]t the hearing, the decision-maker must permit each party to

 ask the other party and any witnesses all relevant questions and follow-up questions, including

 those challenging credibility.” Id. “Such cross-examination at a hearing must be conducted by

 the party’s advisor of choice, notwithstanding the discretion of the recipient under

 §   106.45(b)(3)(iv) to otherwise restrict the extent to which advisors may participate in the

 proceedings.” Id.

          The DOE also proposes adding Section 106.45(b)(i) “stating that in reaching a

 determination regarding responsibility, the recipient must apply either the preponderance of the

 evidence standard or the clear and convincing evidence standard.” Id. at 61,477. Universities may

 employ the preponderance of the evidence standard if that standard applies to “conduct code

 violations that do not involve sexual harassment but carry the same maximum disciplinary

 sanction.” Id.

 II.      Discussion

          A.      Plaintiffs Application for a Preliminary Injunction

          Plaintiffs primary argument in support of his application for a preliminary injunction is

 that “if Princeton proceeds in its investigation before DOE’s proposed regulations take effect,

 Plaintiff will be irreparably harmed by being subjected to a process lacking the proper due process

 protections.” (Pl.’s Moving Br. 4, ECF No. 1-3.) “Plaintiffs position is that he should not be

 subject to an investigation that the DOE has already determined may be insufficient to protect his

 constitutional due process rights.” (Id. at 2.) Plaintiff, accordingly, views an adjournment of the

 proceedings until implementation of the DOE regulations as “the only way to ensure that Plaintiffs

 constitutional and contractual rights are protected.” (Id.)

         Plaintiff argues that he is likely to succeed on the merits of each of the four asserted causes

 of action. Plaintiff insists that he will be successful on the due process violation claim because


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 (1) Princeton is required to comply with Title IX, (2) the DOE’s current guidance “has recognized

 that students accused of sexual harassment are entitled to due process protections[,]” (3) the DOE’s

 proposed regulations “provide adequate due process protections for those involved in grievance

 proceedings,” and (4) Princeton has indicated it would proceed with the current investigation in

 the absence of the due process protections embodied in the proposed regulations. (Id. at 6-9.)

 Plaintiff argues that Princeton has breached its contract with Plaintiffby denying Plaintiffs request

 for an adjournment of the proceedings despite the provision within the RRR Policy’s providing for

 an extension of time of investigation for “good cause.” (Id. at 11.) Plaintiff argues that he will

 succeed on his breach of the implied covenant of good faith and fair dealing claim for the same

 reasons as the breach of contract claim. (See id. at 12-15.)

         Plaintiff insists that he will be irreparably harmed if the Court does not grant the

 preliminary injunction. (Id. at 15.) Specifically, Plaintiff argues that if the investigation proceeds,

 he “will not have the opportunity to cross-examine his accuser or have other fundamental

 procedural protections, such as the correct burden of proof.” (Id.) As a result, he will have to

 “defend himself without the benefit of procedures deemed necessary by DOE, and, upon a finding

 that he was responsible for the conduct alleged, would be subject to significant penalties, including

 reputational and educational injuries for conduct that he unequivocally denies.” (Id.)

        Finally, Plaintiff argues that the balance of the equities favors granting the preliminary

 injunction because the relief would “simply maintain the status quo.” (Id. at 16.) Plaintiff also

 notes that Jane Roe filed her complaint “nearly eighteen months afler the conduct at issue” and so

 an “adjournment for such a significant purpose would cause no prejudice in light of the extensive

 delay” that has already occurred. (Id. at 16-17.)




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        B.      Plaintiff’s Application for a Preliminary Injunction is Denied

        “[T]he grant of injunctive relief is an extraordinary remedy.              .   .   which should be granted

 only in limited circumstances.” frank’s GMC Truck Ctr., Inc. v. Gen. Motors Corp., 847 F.2d

 100, 102 (3d Cir. 1988) (internal citation omitted). To obtain a preliminary injunction, the moving

 party must establish:

        (1) a reasonable probability of eventual success in the litigation, and (2) that it will
        be irreparably injured. if relief is not granted.... [In addition,] the district court,
                                .   .


        in considering whether to grant a preliminary injunction, should take into account,
        when they are relevant, (3) the possibility of harm to other interested persons from
        the grant or denial of the injunction, and (4) the public interest.

 Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017), as amended (June 26, 2017)

 (alterations in original) (quoting Del. River Fort Auth. v. Transamerican Trailer Transport, Inc.,

 501 F.2d 917, 9 19-20 (3d Cir. 1974)).

        The Third Circuit clarified that the moving party must first establish the two “most critical”

 factors—success on the merits and irreparable injury—before the Court considers the possibility

 of harm to others and the public interest. Id. at 179. On the first factor, the moving party must

 establish a likelihood of success on the merits “which requires a showing significantly better than

 negligible but not necessarily more likely than not.        ..   .“   Id. On the second factor, the irreparable

 injury must be “more likely than not to [occur]   ..   .   in the absence of preliminary relief.” Id.

        The Third Circuit has held that a “showing of irreparable harm is insufficient if the harm

 will occur only in the indefinite ftiture[,]” instead “the moving party must make a clear showing

 of immediate irreparable harm.” Campbell      Soup         Co. v. ConAgra Inc., 977 F.2d 86, 91 (3d Cir.

 1992) (internal quotations and citation omitted). This Court has stated that “an injunction may not

 be used simply to eliminate a possibility of a remote future injury, or a future invasion of rights.”

 Boretsky v. Corzine, No. 08-2265, 2009 WL 1312701, at *5 (D.N.J. May 11, 2009) (citation

 omitted).


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          Here, Plaintiff has failed to establish that he will suffer an immediate irreparable injury in

 the absence of the requested relief. At the outset, the Court notes that Plaintiff failed to set forth

 any precedent supporting the proposition that a preliminary injunction should issue based on

 proposed regulations that do not constitute final agency action. Indeed, Plaintiffs position belies

 “the established point of law that proposed regulations.   .   .   have no legal effect.” Sweet v. Sheahan,

 235 F.3d 80, 87 (2d Cir. 2000) (citation omitted). Despite this, Plaintiff asserts that if the Title IX

 Investigation proceeds he “will not have the opportunity to cross-examine his accuser or have other

 fundamental procedural protections, such as the correct burden of proof.” (Pl.’s Moving Br. 15.)

 As a result, he will have to “defend himself without the benefit of procedures deemed necessary

 by DOE, and, upon a finding that he was responsible for the conduct alleged, would be subject to

 significant penalties, including reputational and educational injuries for conduct that he

 unequivocally denies.” (Id.)

          Plaintiff asserts that “it is beyond speculative to suggest that DOE will do anything other

 than enact [the Proposed Regulations] following the review and comment period” because of the

 “significant and time-consuming research” that the DOE conducted before issuing the Proposed

 Regulations. (PL’s Reply Br. at 9.) During Oral Argument, Plaintiffs counsel asserted that the

 DOE has “already undertaken the normal process” that would be entailed in the notice-and-

 comment period, and counsel agreed with the proposition that the notice-and-comment period for

 the Proposed Regulations isproforma. (Dec. 21, 2018 Tr. 124:18-24; 4:25-5:2.)

          The Court is not persuaded by Plaintiffs assertions. The Administrative Procedures Act

 (“APA”), 5 U.S.C.     §   500 et seq. provides that after notice of proposed rule making, “the agency

 shall give interested persons an opportunity to participate in the rule making through submission

 of written data, views, or arguments with or without opportunity for oral presentation.” 5 U.S.C.

 §   5 53(c). The APA also requires that “[a]fter consideration of the relevant matter presented, the


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 agency shall incorporate in the rules adopted a concise general statement of their basis and

 purpose.” Id.     “Section 553 [of the APA] was enacted to give the public an opportunity to

 participate in the rule-making process[,]” and “[i]t also enables the agency promulgating the rule

 to educate itself before establishing rules and procedures which have a substantial impact on those

 regulated.”   Texaco, Inc. v. Fed. Power Comm ‘n, 412 F.2d 740, 744 (3d Cir. 1969) (citation

 omitted).

        While Plaintiff highlights the significant amount of research the DOE indicates it engaged

 in prior to publishing the Proposed Regulations, there is no indication that this work is a sufficient

 substitute for the APA-mandated notice-and-comment period, and Plaintiff has provided the Court

 with no legal authority supporting that proposition.       The Court, accordingly, cannot accept

 Plaintiffs assertions that the notice-and-comment period is pro forma and that the Proposed

 Regulations, in their current form, will be promulgated as final regulations. As the Court alluded

 to during the December 21, 2018 Oral Argument, accepting Plaintiffs proposition requires the

 Court to ignore a possible violation of the APA while applying the substance of the Proposed

 Regulations to adjudicate an alleged due process violation claim. (See Dec. 21, 2018 Tr. 5:9-16.)

 The Court agrees with the Second Circuit’s observations in Sweet, that “by design, rulemaking—

 proposed rules, followed by notice and comment, leading to final rules—is a process of graduated

 decision-making resulting in final regulations,” and   “[ut would make little sense for this court to
 short-circuit the process by giving effect to what were merely meant to be proposed regulations.”

 235 F.3d at 87.

        The alleged harm Plaintiff alleges he will suffer is also too speculative. Plaintiff asserts

 that, in his view, the Title IX Investigation will not result in a negative outcome for him. (Dec.

 21, 2018 Tr. 6:9-13.) The Court does not have the facts at issue in the Title IX Investigation, thus

 the Court cannot assess the likely result of the Title IX Investigation and whether Plaintiff will


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 suffer any adverse consequences. Thus, as Plaintiffs counsel stated at Oral Argument, the only

 potential harm Plaintiff can point to at this time is the “risk that the process is going to [negatively]

 impact” Plaintiff. (Id. at 7:4-5.) This risk, based on procedures and requirements embodied in the

 Proposed Regulations, is far too speculative. Substantively, Plaintiffs argument that there is a

 risk of harm that Princeton will apply a lower standard of evidence is challenged by the content of

 the Proposed Regulations themselves. The Proposed Regulations require Princeton to apply the

 same standard of evidence in Title IX investigations as applied to other conduct code violations

 with the potential for the same penalties. Princeton admits that a different standard of evidence is

 currently applied to other conduct code violations. (Id. at 23:2-13.) Plaintiff, however, fails to

 acknowledge that if the Proposed Regulations are promulgated in their current form, Princeton

 may respond by using the lower standard for all conduct code violations. Plaintiff, accordingly,

 would not have suffered any harm arising from the application of an improper standard of review.

         Whether Plaintiff will suffer any harm from Princeton’s current procedure for submitting

 written questions in lieu of direct cross-examination is a closer call. As the DOE acknowledges in

 the Proposed Regulations, the United States Supreme Court has described cross-examination as

 “the ‘greatest legal engine ever invented for the discovery of truth.” Proposed Regulations at

 61,476 (quoting California v. Green, 399 U.S. 149, 158 (1970)). In the Sixth Circuit opinion

 discussed in the Proposed Regulations, the right of cross-examination is limited to circumstances

 where “the university’s determination turns on the credibility of the accuser, the accused, or

 witnesses...   .“   Doe v. Baum, 903 F.3d 575, 581 (6th Cir. 2018) (citations omitted). Specifically,

 “if a university is faced with competing narratives about potential misconduct, the administration

 must facilitate some form of cross-examination in order to satisfy due process.” Id. (citation

 omitted).




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        Here, Plaintiff cites no authority showing that the Third Circuit or this Court has adopted

 the same reasoning and the Court cannot identify any precedent showing the same. Plaintiff,

 moreover, has not established that Princeton’s ultimate determination in the instant Title IX

 Investigation will turn on the credibility of Jane Doe, a witness, or Plaintiff. Thus, even if the

 Sixth Circuit’s precedent on the right to cross-examination in Title IX investigations was binding

 on the Court, Plaintiff has not established that that right has been triggered and would be violated

 by Princeton’s current Title IX procedures contained in the RRR Policy.

        In sum, the Court concludes that Plaintiff has failed to establish that he will suffer an

 immediate irreparable harm in the absence of the Court providing relief. The Court now turns to

 the merits of Defendant’s Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).

 For the reasons discussed below, the Court also concludes that Plaintiff has failed to establish a

 likelihood of the success on the merits on his due process violation claim. The Court, does not

 address the third and fourth factors of the preliminary injunction analysis.

        C.      Princeton’s Motion to Dismiss is Granted in Part

        On a motion to dismiss for failure to state a claim, the “defendant bears the burden of

 showing that no claim has been presented.” Hedges v. United States, 404 F.3d 744, 750 (3d Cir.

 2005) (citation omitted). A district court is to conduct a three-part analysis when considering a

 Rule 12(b)(6) motion to dismiss. See Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011). “First,

 the court must ‘tak[e] note of the elements a plaintiff must plead to state a claim.” Id. (quoting

 Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009)). Second, the court must “review[ ] the complaint to

 strike conclusory allegations.” Id. The court must accept as true all of the plaintiffs well-pleaded

 factual allegations and “construe the complaint in the light most favorable to the plaintiff.   .   .   .“




 fowler v. UFMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (citation omitted). In doing so, the

 court is free to ignore legal conclusions or factually unsupported accusations that merely state “the


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 defendant-unlawfully-harmed-me.” Iqbal, 556 U.S. at 678 (citing Bell Ati. Corp. v. Twombly, 550

 U.S. 544, 555 (2007)).       finally, the court must determine “whether the facts alleged in the

 complaint are sufficient to show that the plaintiff has a ‘plausible claim for relief” fowler, 578

 f.3d at 211 (quoting Iqbal, 556 U.S. at 679). A facially plausible claim “allows the court to draw

 the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 210

 (quoting lqbal, 556 U.S. at 678).

                 1.       Plaintiffs Due Process Violation claim fails

         “To prevail on a procedural due process claim, plaintiff must establish (i) that he possessed

 a protected liberty interest, (ii) that the state or its agents deprived him of this interest, and (iii) that

 this deprivation was effectuated without constitutionally sufficient process.” Doe v. Rector &

 Visitors of George Mason Univ., 149 f. Supp. 3d 602, 613 (E.D. Va. 2016) (citation omitted).

 Because Princeton is a private institution, the United States Constitution does not set the level of

 due process Princeton must provide Plaintiff Hernandez-Loring v. Universidad Metropolitana,

 233 F.3d 49, 51(1st Cir. 2000) (noting that “a private university is not directly governed by the

 due process requirements of the Fifth and Fourteenth Amendments.”) In Rendell-Baker v. Kohn,

 the United States Supreme Court concluded that a private “school’s receipt of public funds does

 not make the [actions of the school] acts of the State.” 457 U.S. 830, 840 (1982).

         Princeton argues that “a due process claim is not available against a private university like

 Princeton for conducting its own disciplinary proceedings.” (Def’s Opp’n Br. 13.) Thus, per,

 Princeton, Plaintiffs due process claim fails on its face. Princeton also argues that unlike the cases

 Plaintiff relies on regarding “basic fairness”, Princeton’s procedures comply with Title IX and

 Princeton has followed those procedures to date. (Id. at 14 (discussing Doe v. Brandeis Univ., 177

 F. Supp. 3d 561 (D. Mass. 2016)).) Plaintiff replies that “Princeton’s receipt of federal funding

 requires that it comply with Title IX, pursuant to DOE’s direction as to how to do so.” (Pl.’s Reply


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 Br. 9, ECF No. 9 (emphasis omitted).) Plaintiff asserts that “DOE has definitively weighed in on

 the proper procedure to be implemented in the context of a university’s Title IX investigations[,]”

 and because “Princeton’s current Policy does not comply, Plaintiff is likely to succeed on his due

 process claim.” (Id. at 5.) Plaintiff argues that the 2001 Guidelines “direct[] that procedures

 ‘according due process to both parties involved’ in a proceeding ‘will lead to sound and

 supportable decisions.” (Id. at 4 (citations omitted).)

        Plaintiffs arguments are unpersuasive.         In effect, Plaintiff argues that the Proposed

 Regulations, and the Executive Summary and specific procedures contained therein, have the force

 of law. As discussed above, the Proposed Regulations are merely proposals and do not have the

 force of law. Perhaps recognizing the flaw in relying on the Proposed Regulations, Plaintiff also

 relies on the DOE’s current guidance for support. (Id. (arguing that the 2001 Guidelines “direct[j

 that procedures according due process to both parties involved in a proceeding will lead to sound

 and supportable decisions.”) (internal quotations and citation omitted).) Plaintiff equates the

 references to due process in the 2001 Guidelines to the DOE imposing a requirement for

 cross-examination in current Title IX investigations.      The 2001 Guidelines, however, do not

 establish that Plaintiffs due process rights require Princeton to allow cross-examination in the

 Title IX Investigation.

        At bottom, Plaintiffs due process claim relies on proposed procedures and standards

 contained in proposed regulations, and Plaintiff has alleged no facts establishing that the RRR

 Policy in its present form violates current binding DOE regulations or other binding precedent.

 Accordingly, Plaintiff has not adequately alleged that the present application of the RRR Policy to

 Plaintiff violates his due process rights.




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                  2.      Defendant’s Motion is Denied as to Counts Two, Three, and Four

         Under New Jersey law, “a cause of action exists for breach of contract when the plaintiff

 can demonstrate that there exists ‘[a] valid contract, defective performance by the defendant, and

 resulting damages.” Zelnick v. Morristown-Beard Sc/i., 137 A.3d 560, 566 (N.J. Sup. Ct. Law.

 Div. 2015) (quoting Covie v. Englander’s, 48$ A.2d 1083 (N.J. Super. Ct. App. Div. 1985)). New

 Jersey courts, however, have cautioned that “the relationship between the university and its

 students should not be analyzed in purely contractual terms.” Mittra v. Univ. ofMed. & Dentistry

 ofNi, 719 A.2d 693, 694 (N.J. Super. Ct. App. Div. 199$). “While recognizing that the tuition

 paid by the student in order to be educated at a university may in some circumstances be considered

 contractual consideration,” New Jersey Courts have “nevertheless emphasized the ‘necessity for

 independence of a university in dealing with the academic failures, transgressions or problems of

 a student.” Romeo v. Seton Hall Univ., $75 A.2d 1043, 1049 (N.J. Super. Ct. App. Div. 2005)

 (citation omitted). New Jersey courts have rejected “a rigid application of contractual principles

 to university-student conflicts” and have limited a court’s “scope of review to a determination

 whether the procedures followed were in accordance with the institution’s rules and regulations.”

 Mittra, 719 A.2d at 697.

         Here, the parties agree that strict contractual principles do not govern Plaintiffs breach of

 contract claim. Plaintiff alleges that Princeton breached its contract with Plaintiff by denying

 Plaintiffs request for an adjournment of the proceedings despite the RRR Policy provision

 providing for an extension of time of the Title IX Investigation for “good cause.” (Compi.

 ¶J 5 1-58.)   Princeton argues that the RRR Policy states that the timeframe of an investigation may

 be extended for “good cause” and “good cause” is defined to include certain identified instances

 and “other legitimate reasons, including the complexity of the investigation and the severity of the

 alleged misconduct.” (Def.’s Opp’n 16-17.) Princeton argues that Plaintiff is not seeking an


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 extension. (Id. at 17.) Instead, Plaintiff wants the investigation to come to a full stop. (Id.)

 Princeton asserts that the decision to extend the timeftame of an investigation is discretionary, and

 it cannot be in breach of the RRR Policy “by declining to exercise in good faith the discretion that

 the RRR Policy affords it, especially given the substantial deference due Princeton’s application

 of the RRR Policy.” (Id. (citing Wilson v. Amerada Hess Corp., 773 A.2d 1121, 1126-27 (N.J.

 2001)).) Plaintiff responds to Princeton’s argument by asserting that “Plaintiff has not requested

 that Princeton cease its investigation entirely forever; rather, Plaintiff has very clearly requested

 that Princeton simply hold off on its investigation until the proper terms of that investigation have

 been clarified by DOE, which will undoubtedly happen sometime in the near future.” (P1.’s Reply

 6 (emphasis in original).) Plaintiff asserts that “Princeton’s own Policy contemplates that the

 process may be delayed for legitimate reasons.” (Id.)

        Here, Plaintiff pled the minimum amount of facts required to survive a Rule 12(b)(6)

 motion. Plaintiff has plausibly alleged the existence of a contract between Princeton and Plaintiff

 Plaintiff has also plausibly alleged that Princeton has breached that contract by denying Plaintiffs

 extension of time for “good cause.” Whether the Proposed Regulations amount to good cause for

 an extension of time and whether Princeton’s denial of Plaintiffs request was in accordance with

 the substantial deference granted to it by New Jersey law are issues more appropriately resolved

 at the summary judgment stage of litigation. Plaintiffs Anticipatory Breach of Contract and

 Breach of the Covenant of Good Faith and Fair Dealing claims rely on the same set of sufficiently

 pled facts. The Court, accordingly, denies Defendant’s Motion to Dismiss as to Counts Two,

 Three, and Four.




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 III.   Conclusion

        For the reasons set forth above, Plaintiffs Application for a Preliminary Injunction is

 denied, and Princeton’s Motion to Dismiss is granted in part and denied in part.    An order

 consistent with this Memorandum Opinion will be entered.


                                                            s/ Michael A. Shipp
                                                            MICHAEL   A. SrnPP
                                                            UNITED STATES DIsTRIcT JUDGE



 Dated: January 9, 2019




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